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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE MIDDLE DISTRICT OF FLORIDA

 JOSHUA KEMPFER, individually and on behalf of                               CLASS ACTION
 all others similarly situated,

       Plaintiff,                                                      JURY TRIAL DEMANDED

 vs.

 NATIONAL COLLEGE OF BUSINESS AND
 TECHNOLOGY COMPANY, INC. D/B/A
 FLORIDA TECHNICAL COLLEGE,

   Defendant.
 ______________________________________/


                                     CLASS ACTION COMPLAINT

           1.       Plaintiff, Joshua Kempfer, brings this action against Defendant, National College

Of Business And Technology Company, Inc. d/b/a Florida Technical College, to secure redress

for violations of the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227.

                                        NATURE OF THE ACTION

           2.       This is a putative class action pursuant to the Telephone Consumer Protection Act, 47

U.S.C. § 227 et seq., (the “TCPA”).

           3.       Defendant is a for profit college with multiple campuses in Florida. To promote its

services, Defendant engages in unsolicited marketing, harming thousands of consumers in the process.

           4.       Through this action, Plaintiff seeks injunctive relief to halt Defendant’s illegal conduct,

which has resulted in the invasion of privacy, harassment, aggravation, and disruption of the daily life

of thousands of individuals. Plaintiff also seeks statutory damages on behalf of himself and members

of the class, and any other available legal or equitable remedies.
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                                    JURISDICTION AND VENUE

        5.      Jurisdiction is proper under 28 U.S.C. § 1331 as Plaintiff alleges violations of a federal

statute. Jurisdiction is also proper under 28 U.S.C. § 1332(d)(2) because Plaintiff alleges a national class,

which will result in at least one class member belonging to a different state than that of Defendant.

Plaintiff seeks up to $1,500.00 (one-thousand-five-hundred dollars) in damages for each call in violation

of the TCPA, which, when aggregated among a proposed class numbering in the tens of thousands, or

more, exceeds the $5,000,000.00 (five-million dollars) threshold for federal court jurisdiction under the

Class Action Fairness Act (“CAFA”). Therefore, both the elements of diversity jurisdiction and CAFA

jurisdiction are present.

        6.      Venue is proper in the United States District Court for the Middle District of Florida

pursuant to 28 U.S.C. § 1391(b) and (c) because Defendant is deemed to reside in any judicial district

in which it is subject to the court’s personal jurisdiction, and because Defendant provides and markets

its services within this district thereby establishing sufficient contacts to subject it to personal

jurisdiction. Further, Defendant’s tortious conduct against Plaintiff occurred within the State of Florida

and, on information and belief, Defendant has sent the same text messages complained of by Plaintiff

to other individuals within this judicial district, such that some of Defendant’s acts in making such calls

have occurred within this district, subjecting Defendant to jurisdiction in the State of Florida.

                                                PARTIES

        7.      Plaintiff is a natural person who, at all times relevant to this action, was a resident of

Orange County, Florida.

        8.      Defendant is a Puerto Rico corporation whose principal office is located at Carr. 2 Km.

# 1660, National College Plaza, Bayamon, PR 00961 PR. Defendant directs, markets, and provides its

business activities throughout the State of Florida.
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                                             THE TCPA

          9.    The TCPA prohibits: (1) any person from calling a cellular telephone number; (2) using

an automatic telephone dialing system; (3) without the recipient’s prior express consent. 47 U.S.C. §

227(b)(1)(A).

          10.   The TCPA defines an “automatic telephone dialing system” (“ATDS”) as “equipment

that has the capacity - (A) to store or produce telephone numbers to be called, using a random or

sequential number generator; and (B) to dial such numbers.” 47 U.S.C. § 227(a)(1).

          11.   In an action under the TCPA, a plaintiff must only show that the defendant “called a

number assigned to a cellular telephone service using an automatic dialing system or prerecorded

voice.” Breslow v. Wells Fargo Bank, N.A., 857 F. Supp. 2d 1316, 1319 (S.D. Fla. 2012), aff'd, 755

F.3d 1265 (11th Cir. 2014).

          12.   The Federal Communications Commission (“FCC”) is empowered to issue rules and

regulations implementing the TCPA. According to the FCC’s findings, calls in violation of the TCPA

are prohibited because, as Congress found, automated or prerecorded telephone calls are a greater

nuisance and invasion of privacy than live solicitation calls, and such calls can be costly and

inconvenient. The FCC also recognized that wireless customers are charged for incoming calls whether

they pay in advance or after the minutes are used. Rules and Regulations Implementing the Telephone

Consumer Protection Act of 1991, CG Docket No. 02-278, Report and Order, 18 FCC Rcd 14014

(2003).

          13.   In 2012, the FCC issued an order tightening the restrictions for automated telemarketing

calls, requiring “prior express written consent” for such calls to wireless numbers. See In the Matter of

Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 F.C.C.R. 1830, 1838 ¶ 20

(Feb. 15, 2012) (emphasis supplied).

          14.   To obtain express written consent for telemarketing calls, a defendant must establish

that it secured the plaintiff’s signature in a form that gives the plaintiff a “‘clear and conspicuous
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disclosure’ of the consequences of providing the requested consent….and having received this

information, agrees unambiguously to receive such calls at a telephone number the [plaintiff]

designates.” In re Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 F.C.C.R.

1830, 1837 ¶ 18, 1838 ¶ 20, 1844 ¶ 33, 1857 ¶ 66, 1858 ¶ 71 (F.C.C. Feb. 15, 2012).

        15.     The TCPA regulations promulgated by the FCC define “telemarketing” as “the

initiation of a telephone call or message for the purpose of encouraging the purchase or rental of, or

investment in, property, goods, or services.” 47 C.F.R. § 64.1200(f)(12). In determining whether a

communication constitutes telemarketing, a court must evaluate the ultimate purpose of the

communication. See Golan v. Veritas Entm't, LLC, 788 F.3d 814, 820 (8th Cir. 2015).

        16.     “Neither the TCPA nor its implementing regulations ‘require an explicit mention of a

good, product, or service’ where the implication of an improper purpose is ‘clear from the context.’”

Id. (citing Chesbro v. Best Buy Stores, L.P., 705 F.3d 913, 918 (9th Cir. 2012)).

        17.     “‘Telemarketing’ occurs when the context of a call indicates that it was initiated and

transmitted to a person for the purpose of promoting property, goods, or services.” Golan, 788 F.3d at

820 (citing 47 C.F.R. § 64.1200(a)(2)(iii); 47 C.F.R. § 64.1200(f)(12); In re Rules and Regulations

Implementing the Telephone Consumer Protection Act of 1991, 18 F.C.C. Rcd at 14098 ¶ 141, 2003

WL 21517853, at *49).

        18.     The FCC has explained that calls motivated in part by the intent to sell property, goods,

or services are considered telemarketing under the TCPA.           See In re Rules and Regulations

Implementing the Telephone Consumer Protection Act of 1991, 18 FCC Rcd. 14014, ¶¶ 139-142 (2003).

This is true whether call recipients are encouraged to purchase, rent, or invest in property, goods, or

services during the call or in the future. Id.

        19.     In other words, offers “that are part of an overall marketing campaign to sell

property, goods, or services constitute” telemarketing under the TCPA. See In re Rules and
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Regulations Implementing the Telephone Consumer Protection Act of 1991, 18 FCC Rcd. 14014, ¶ 136

(2003).

          20.   If a call is not deemed telemarketing, a defendant must nevertheless demonstrate that it

obtained the plaintiff’s prior express consent. See In the Matter of Rules and Regulaions Implementing

the Tel. Consumer Prot. Act of 1991, 30 FCC Rcd. 7961, 7991-92 (2015) (requiring express consent

“for non-telemarketing and non-advertising calls”).

          21.   Further, the FCC has issued rulings and clarified that consumers are entitled to the same

consent-based protections for text messages as they are for calls to wireless numbers. See Satterfield v.

Simon & Schuster, Inc., 569 F.3d 946, 952 (9th Cir. 2009) (The FCC has determined that a text message

falls within the meaning of “to make any call” in 47 U.S.C. § 227(b)(1)(A)); Toney v. Quality Res., Inc.,

2014 WL 6757978, at *3 (N.D. Ill. Dec. 1, 2014) (Defendant bears the burden of showing that it

obtained Plaintiff's prior express consent before sending him the text message). (emphasis added).

          22.   As recently held by the United States Court of Appeals for the Ninth Circuit:

“Unsolicited telemarketing phone calls or text messages, by their nature, invade the privacy and disturb

the solitude of their recipients. A plaintiff alleging a violation under the TCPA ‘need not allege any

additional harm beyond the one Congress has identified.’” Van Patten v. Vertical Fitness Grp., No.

14-55980, 2017 U.S. App. LEXIS 1591, at *12 (9th Cir. May 4, 2016) (quoting Spokeo, Inc. v.

Robins, 136 S. Ct. 1540, 1549 (2016) (emphasis original)).

                                                FACTS

          23.   On or about November 21, 2018, Defendant sent the following telemarketing text

messages to Plaintiff’s cellular telephone number ending in 8326 (the “8326 Number”):
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        24.     Defendant’s text messages were transmitted to Plaintiff’s cellular telephone, and within

the time frame relevant to this action.

        25.     Defendant’s text messages constitute telemarketing because they encouraged the future

purchase or investment in property, goods, or services, i.e., selling Plaintiff diploma programs.

        26.     The information contained in the text message advertises Defendant’s “school tour”,

which Defendant sends to promote its business.

        27.     Plaintiff received the subject texts within this judicial district and, therefore, Defendant’s

violation of the TCPA occurred within this district. Upon information and belief, Defendant caused

other text messages to be sent to individuals residing within this judicial district.
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        28.     At no point in time did Plaintiff provide Defendant with his express written consent to

be contacted using an ATDS.

        29.     Plaintiff is the subscriber and sole user of the 8326 Number, and is financially

responsible for phone service to the 8326 Number.

        30.     The impersonal and generic nature of Defendant’s text message demonstrates that

Defendant utilized an ATDS in transmitting the messages. See Jenkins v. LL Atlanta, LLC, No. 1:14-

cv-2791-WSD, 2016 U.S. Dist. LEXIS 30051, at *11 (N.D. Ga. Mar. 9, 2016) (“These assertions,

combined with the generic, impersonal nature of the text message advertisements and the use of a short

code, support an inference that the text messages were sent using an ATDS.”) (citing Legg v. Voice

Media Grp., Inc., 20 F. Supp. 3d 1370, 1354 (S.D. Fla. 2014) (plaintiff alleged facts sufficient to infer

text messages were sent using ATDS; use of a short code and volume of mass messaging alleged would

be impractical without use of an ATDS); Kramer v. Autobytel, Inc., 759 F. Supp. 2d 1165, 1171 (N.D.

Cal. 2010) (finding it "plausible" that defendants used an ATDS where messages were advertisements

written in an impersonal manner and sent from short code); Hickey v. Voxernet LLC, 887 F. Supp. 2d

1125, 1130; Robbins v. Coca-Cola Co., No. 13-CV-132-IEG NLS, 2013 U.S. Dist. LEXIS 72725, 2013

WL 2252646, at *3 (S.D. Cal. May 22, 2013) (observing that mass messaging would be impracticable

without use of an ATDS)).

        31.     The text messages originated from telephone number 407-357-0004, a number which

upon information and belief is owned and operated by Defendant.

        32.     The number used by Defendant (407-357-0004) is known as a “long code,” a standard

10-digit phone number that enabled Defendant to send SMS text messages en masse, while deceiving

recipients into believing that the message was personalized and sent from a telephone number operated

by an individual.

        33.     Long codes work as follows: Private companies known as SMS gateway providers

have contractual arrangements with mobile carriers to transmit two-way SMS traffic. These SMS
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gateway providers send and receive SMS traffic to and from the mobile phone networks' SMS centers,

which are responsible for relaying those messages to the intended mobile phone. This allows for the

transmission of a large number of SMS messages to and from a long code.

        34.     Specifically, upon information and belief, Defendant utilized a combination of hardware

and software systems to send the text messages at issue in this case. The systems utilized by Defendant

have the capacity to store telephone numbers using a random or sequential generator, and to dial such

numbers without human intervention.

        35.     Defendant’s unsolicited text messages caused Plaintiff actual harm, including invasion

of his privacy, aggravation, annoyance, intrusion on seclusion, trespass, and conversion. Defendant’s

text messages also inconvenienced Plaintiff and caused disruption to his daily life.

                                       CLASS ALLEGATIONS

        PROPOSED CLASS

        36.     Plaintiff brings this case as a class action pursuant to Fed. R. Civ. P. 23, on behalf of

himself and all others similarly situated.

        37.     Plaintiff brings this case on behalf of a Class defined as follows:

                     All persons within the United States who, within the four
                     years prior to the filing of this Complaint, were sent a text
                     message, from Defendant or anyone on Defendant’s
                     behalf, to said person’s cellular telephone number,
                     advertising Defendant’s services, without the recipients’
                     prior express written consent.

        38.     Defendant and its employees or agents are excluded from the Class. Plaintiff does not

know the number of members in the Class but believes the Class members number in the several

thousands, if not more.

           NUMEROSITY

        39.     Upon information and belief, Defendant has placed automated and/or prerecorded calls

to cellular telephone numbers belonging to thousands of consumers throughout the United States
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without their prior express consent. The members of the Class, therefore, are believed to be so numerous

that joinder of all members is impracticable.

        40.      The exact number and identities of the Class members are unknown at this time and can

only be ascertained through discovery. Identification of the Class members is a matter capable of

ministerial determination from Defendant’s call records.

              COMMON QUESTIONS OF LAW AND FACT

        41.      There are numerous questions of law and fact common to the Class which predominate

over any questions affecting only individual members of the Class. Among the questions of law and

fact common to the Class are:

                     (1) Whether Defendant made non-emergency calls to Plaintiff’s and Class

                         members’ cellular telephones using an ATDS;

                     (2) Whether Defendant can meet its burden of showing that it obtained prior

                         express written consent to make such calls;

                     (3) Whether Defendant’s conduct was knowing and willful;

                     (4) Whether Defendant is liable for damages, and the amount of such damages; and

                     (5) Whether Defendant should be enjoined from such conduct in the future.

        42.      The common questions in this case are capable of having common answers. If Plaintiff’s

claim that Defendant routinely transmits text messages to telephone numbers assigned to cellular

telephone services is accurate, Plaintiff and the Class members will have identical claims capable of

being efficiently adjudicated and administered in this case.

              TYPICALITY

        43.      Plaintiff’s claims are typical of the claims of the Class members, as they are all based

on the same factual and legal theories.

              PROTECTING THE INTERESTS OF THE CLASS MEMBERS
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          44.     Plaintiff is a representative who will fully and adequately assert and protect the interests

of the Class and has retained competent counsel. Accordingly, Plaintiff is an adequate representative

and will fairly and adequately protect the interests of the Class.

                PROCEEDING VIA CLASS ACTION IS SUPERIOR AND ADVISABLE

          45.     A class action is superior to all other available methods for the fair and efficient

adjudication of this lawsuit, because individual litigation of the claims of all members of the Class is

economically unfeasible and procedurally impracticable. While the aggregate damages sustained by the

Class are in the millions of dollars, the individual damages incurred by each member of the Class

resulting from Defendant’s wrongful conduct are too small to warrant the expense of individual

lawsuits. The likelihood of individual Class members prosecuting their own separate claims is remote,

and, even if every member of the Class could afford individual litigation, the court system would be

unduly burdened by individual litigation of such cases.

          46.     The prosecution of separate actions by members of the Class would create a risk of

establishing inconsistent rulings and/or incompatible standards of conduct for Defendant. For example,

one court might enjoin Defendant from performing the challenged acts, whereas another may not.

Additionally, individual actions may be dispositive of the interests of the Class, although certain class

members are not parties to such actions.

                                               COUNT I
                              Violations of the TCPA, 47 U.S.C. § 227(b)
                                (On Behalf of Plaintiff and the Class)

          47.     Plaintiff re-alleges and incorporates the foregoing allegations as if fully set forth

herein.

          48.     It is a violation of the TCPA to make “any call (other than a call made for

emergency purposes or made with the prior express consent of the called party) using any

automatic telephone dialing system … to any telephone number assigned to a … cellular telephone

service ….” 47 U.S.C. § 227(b)(1)(A)(iii).
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        49.      Defendant – or third parties directed by Defendant – used equipment having the

capacity to dial numbers without human intervention to make non-emergency telephone calls to

the cellular telephones of Plaintiff and the other members of the Class defined below.

        50.      These calls were made without regard to whether or not Defendant had first

obtained express permission from the called party to make such calls. In fact, Defendant did not

have prior express consent to call the cell phones of Plaintiff and the other members of the putative

Class when its calls were made.

        51.      Defendant has, therefore, violated § 227(b)(1)(A)(iii) of the TCPA by using an

automatic telephone dialing system to make non-emergency telephone calls to the cell phones of

Plaintiff and the other members of the putative Class without their prior express written consent.

        52.      Defendant knew that it did not have prior express consent to make these calls, and

knew or should have known that it was using equipment that at constituted an automatic telephone

dialing system. The violations were therefore willful or knowing.

        53.      As a result of Defendant’s conduct and pursuant to § 227(b)(3) of the TCPA,

Plaintiff and the other members of the putative Class were harmed and are each entitled to a

minimum of $500.00 in damages for each violation. Plaintiff and the class are also entitled to an

injunction against future calls. Id.

        WHEREFORE, Plaintiff, Joshua Kempfer, on behalf of himself and the other members

of the Class, pray for the following relief:

              a. A declaration that Defendant’s practices described herein violate the Telephone

                 Consumer Protection Act, 47 U.S.C. § 227;

              a. An injunction prohibiting Defendant from using an automatic telephone dialing

                 system to text message telephone numbers assigned to cellular telephones without

                 the prior express permission of the called party;

              c. An award of actual and statutory damages; and
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             d. Such further and other relief the Court deems reasonable and just.

                                         COUNT II
               Knowing and/or Willful Violation of the TCPA, 47 U.S.C. § 227(b)
                           (On Behalf of Plaintiff and the Class)

       54.      Plaintiff re-allege and incorporate paragraphs 1-46 as if fully set forth herein.

       55.      At all times relevant, Defendant knew or should have known that its conduct as

alleged herein violated the TCPA.

       56.      Defendant knew that it did not have prior express consent to make these calls and

knew or should have known that its conduct was a violation of the TCPA.

       57.      Because Defendant knew or should have known that Plaintiff and Class Members

had not given prior express consent to receive its autodialed calls, the Court should treble the

amount of statutory damages available to Plaintiff and the other members of the putative Class

pursuant to § 227(b)(3) of the TCPA.

       58.      As a result of Defendant’s violations, Plaintiff and the Class Members are entitled

to an award of $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.

§ 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

       WHEREFORE, Plaintiff, Joshua Kempfer, on behalf of himself and the other members

of the Class, pray for the following relief:

             a. A declaration that Defendant’s practices described herein violate the Telephone

                Consumer Protection Act, 47 U.S.C. § 227;

             b. An injunction prohibiting Defendant from using an automatic telephone dialing

                system to call and text message telephone numbers assigned to cellular telephones

                without the prior express permission of the called party;

             c. An award of actual and statutory damages; and

             d. Such further and other relief the Court deems reasonable and just.
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                                        JURY DEMAND

         Plaintiff and Class Members hereby demand a trial by jury.



Dated: February 19, 2019

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